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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

SINA MOGHTADER,                             §
                                            §
       Plaintiff,                           §
                                            §
v.                                          §   Civil Action No. SA-18-CV-632-XR
                                            §
GEO GROUP, INC., et al.,                    §
                                            §
       Defendants.                          §
                                            §
                                            §

                     ORDER RE-SETTING STATUS CONFERENCE

       The Status Conference set for November 7, 2018 is RE-SET for Monday, November 5,

2018 at 10:00 a.m.

       It is so ORDERED.

       SIGNED this 26th day of October, 2018.




                                         XAVIER RODRIGUEZ
                                         UNITED STATES DISTRICT JUDGE
